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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                              Case Nos.
                                            9:18-cv-81394
                                            9:18-cv-81430
                                            9:18-cv-81437
                                            9:18-cv-81438
                                            9:18-cv-81441
                                            9:18-cv-81450
                                            9:18-cv-81451
                                            9:18-cv-81454
                                            9:18-cv-81455
                                            9:18-cv-81470
                                            9:18-cv-81472
                                            9:18-cv-81475
                                            9:18-cv-81477
                                            9:18-cv-81478
                                            9:18-cv-81479
                                            9:18-cv-81483
                                            9:18-cv-81513
                                            9:18-cv-81635
                                            9:18-cv-81671
                                            9:18-cv-81683

 COY EVANS, et al.,

        Plaintiffs,

 v.

 OCWEN LOAN SERVICING, LLC,

       Defendant.
 _______________________________/

                      ORDER STAYING CASES PENDING FCC GUIDANCE

        This cause comes before the Court on the parties’ joint notice in case 18-CV-81394. For all

 of the reasons set forth in case 18-CV-81394, docket entries 40 and 41, the above-listed cases are all

 hereby STAYED pending forthcoming guidance from the FCC as more fully discussed in the

 aforementioned docket entries. This stay shall run for a period of 6 months running from the date of

 rendition of this Order. The parties are ORDERED to file a joint status report at the earlier of (1)
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 guidance from the FCC or (2) the conclusion of the six-month stay imposed by this Order. The

 Clerk of the Court shall CLOSE THIS CASE for administrative purposes. This closure shall not

 affect the merits of any party's claim. All pending motions are TERMINATED.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 14th day of January,

 2019.



                                                  ________________________________
                                                  ROBIN L. ROSENBERG
 Copies furnished to Counsel of Record            UNITED STATES DISTRICT JUDGE




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